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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:07-cr-36
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
RICHARD M. ROSENBAUM,               )
                                    )
                  Defendant.        )
____________________________________)



     SUPPLEMENT TO REPORT AND RECOMMENDATION REGARDING PLEA

               At the plea proceedings conducted on October 17, 2007, defendant also entered a plea

of guilty to the forfeiture count (count 3) of the Superseding Felony Information and consented to

forfeit all interest in the property listed therein. I therefore recommend that an order of forfeiture

issue on count 3.



               DONE AND ORDERED this 18th day of October, 2007.


                                       /s/ Joseph G. Scoville
                                       United States Magistrate Judge
